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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                         Civil Action No. 0:23-cv-00367-JWB-ECW


UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                        CONSENT DECREE

MINNESOTA DEPARTMENT OF
CORRECTIONS,

       Defendant.


                                   I.    INTRODUCTION

       1.        This Consent Decree resolves the above-captioned civil action brought by

Plaintiff United States against the Minnesota Department of Corrections (Defendant or

MNDOC) under Title II of the Americans with Disabilities Act (ADA), 42 U.S.C.

§§ 12131–34, as amended, and the Department of Justice’s implementing regulation, 28

C.F.R. pt. 35.

       2.        The United States of America brought this suit against the MNDOC based

on complaints that the MNDOC unlawfully discriminates against incarcerated individuals

with disabilities in its General Educational Development (GED) program. The United

States alleges that the MNDOC violates Title II of the ADA by denying individuals with

disabilities an equal opportunity to benefit from its GED program and that the MNDOC

fails to provide individuals with disabilities with necessary reasonable modifications

during GED courses and practice tests, such as modified assignments and one-on-one

assistance, and denies individuals with disabilities the opportunity to obtain
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accommodations during GED exams.             The United States alleges that without these

accommodations, incarcerated individuals repeatedly fail their GED practice tests and

exams and remain for months or years in the GED program, unable to progress to other

opportunities like college programs or higher-paying prison jobs. The United States alleges

incarcerated individuals with disabilities are thereby denied an equal opportunity to benefit

from the MNDOC’s GED program and subjected to discrimination in violation of the

ADA.

       3.     The United States and MNDOC (collectively, the Parties) agree that it is in

the Parties’ best interests, and the United States believes that it is in the public interest, to

resolve this lawsuit on mutually agreeable terms. Accordingly, in order to avoid additional

cost and the uncertainty of litigation, the Parties agree to the entry of this Consent Decree

without trial or further adjudication of any issues of fact or law raised in the United States’

Complaint.

       Accordingly, the Parties hereby enter into this Consent Decree and the Court hereby

APPROVES, ENTERS, AND ORDERS the following:

                            II.    JURISDICTION AND VENUE

       4.     Plaintiff is the United States of America.

       5.     Defendant MNDOC is a state agency that operates the State of Minnesota’s

prison system and provides correctional services, including educational services, to

incarcerated individuals in Minnesota. Defendant MNDOC is a “public entity” within the

meaning of Title II of the ADA, 42 U.S.C. § 12131(1) and 28 C.F.R. § 35.104, and is

therefore subject to Title II of the ADA and its implementing regulation.

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       6.      This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and

1345 and Title II of the ADA, 42 U.S.C. § 12133. The Parties agree that venue is proper

in this district under 28 U.S.C. § 1391(b) because the claims alleged herein occurred in the

District of Minnesota.

       7.      The United States has authority to bring this action and seek remedies for

violations of Title II of the ADA. 42 U.S.C. § 12133; 28 C.F.R. pt. 35, Subpart F.

       8.      The Court may grant the relief sought in this action pursuant to 28 U.S.C.

§§ 2201–02 and 42 U.S.C. § 12133.

                                 III.   GENERAL RELIEF

       9.      The MNDOC shall comply with the requirements of Title II of the ADA, 42

U.S.C. §§ 12131–34, and its implementing regulation, 28 C.F.R. Part 35, by ensuring

incarcerated individuals with disabilities are provided an equal opportunity to benefit from

the MNDOC’s GED program and are not subjected to discrimination in violation of the

ADA. The MNDOC shall not:

            a. Deny qualified individuals with disabilities the benefits from its services,

               programs, or activities—including its GED program—or otherwise subject

               them to discrimination in violation of 42 U.S.C. § 12132;

            b. Deny qualified individuals with disabilities an equal opportunity to

               participate in or benefit from its services, programs, or activities—including

               its GED program—in violation of 28 C.F.R. § 35.130(a)-(b)(1)(i)-(ii); and

            c. Fail to make reasonable modifications in policies, practices, or procedures

               when the modifications are necessary to avoid discrimination on the basis of

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               disability, unless the public entity can demonstrate that making the

               modifications would fundamentally alter the nature of the service, program,

               or activity in violation of 28 C.F.R. § 35.130(b)(7)(i).

                          IV.    SPECIFIC INJUNCTIVE RELIEF

      10.      Policies, Practices & Procedures: Within sixty (60) calendar days of the

Effective Date of this Consent Decree, the MNDOC shall submit revised policies,

practices, and procedures to the United States for its review and approval, which will not

be unreasonably withheld, providing for the following:

            a. Nondiscrimination: The MNDOC shall not deny qualified individuals with

               disabilities equal opportunity to participate in or benefit from its secondary

               education program—including GED courses, practice tests, and exams—and

               otherwise subject them to discrimination. The MNDOC shall not refuse to

               enroll, limit the participation of, penalize, or otherwise discriminate against

               individuals with disabilities in its secondary education program.

               i. The MNDOC shall make reasonable modifications to its GED program

                  for qualified individuals with disabilities. Required modifications may

                  include changes in the length of time permitted for completion,

                  substitution of requirements of courses, or adaptation of the manner in

                  which the course, practice test, or exam is conducted or materials are

                  distributed.

              ii. The MNDOC shall provide appropriate auxiliary aids and services for

                  persons with impaired sensory, manual, or speaking skills in its GED

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       program, unless the MNDOC can demonstrate that offering a particular

       auxiliary aid or service would fundamentally alter the program or would

       result in an undue burden.

   iii. The MNDOC shall respond in a timely manner, and no later than five (5)

       working days, to requests for modifications, accommodations, or

       auxiliary aids or services in its GED program to ensure equal opportunity

       for individuals with disabilities.

   iv. The MNDOC shall properly evaluate requests for modifications,

       accommodations, auxiliary aids or services, or other disability-related

       needs of incarcerated individuals in connection with its GED program in

       accordance with Title II of the ADA, including conducting individualized

       assessments of such incarcerated individuals where indicated.         The

       MNDOC shall have staff who have been trained pursuant to Paragraph

       13, following United States’ approval of the training in Paragraph 13,

       conduct these individualized assessments. Such assessments may include

       a review of relevant medical and mental health files and an in-person

       evaluation of the individual, and shall result in an individualized

       determination as to whether there are reasonable modifications, auxiliary

       aids or services, or accommodations necessary to ensure that the

       individual has an equal opportunity to participate in and benefit from the

       GED program. If the individual’s request is denied, the MNDOC shall

       inform the incarcerated individual that they may appeal that decision for

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       review by the ADA Compliance Officer, who must respond to the appeal

       within fifteen (15) working days of the appeal. The ADA Compliance

       Officer may grant or deny the individual’s request. If the incarcerated

       individual’s appeal involves a request for a reevaluation of a disability,

       the ADA Compliance Officer may approve or deny the individual’s

       request. If approved, the ADA Compliance Officer or a Facility ADA

       Education Coordinator will conduct the reevaluation and may refer the

       incarcerated individual for new or updated medical or mental health

       testing if necessary. If new or updated medical or mental health testing

       is necessary, the individual shall be referred for such testing within thirty

       (30) calendar days of approval for reassessment.

    v. The MNDOC shall assure that any request for documentation from an

       individual with a disability in the GED program, if such documentation

       is required by the MNDOC, is reasonable and limited to the need for the

       modification, accommodation, or auxiliary aid or service requested.

   vi. The MNDOC shall assure that, when considering requests from

       individuals with disabilities in the GED program for modifications,

       accommodations, or auxiliary aids or services, the MNDOC gives

       considerable    weight    to       documentation   of   past   modifications,

       accommodations, or auxiliary aids or services received in similar testing

       situations, as well as such modifications, accommodations, or related aids

       and services provided in response to an Individualized Education

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       Program (IEP) provided under the Individuals with Disabilities Education

       Act, a plan describing services provided pursuant to Section 504 of the

       Rehabilitation Act of 1973, as amended (often referred as a Section 504

       Plan), or a similar educational learning plan. The MNDOC shall take

       meaningful steps to ascertain whether incarcerated individuals in the

       GED program previously received modifications, accommodations, or

       auxiliary aids or services as part of an IEP, Section 504 Plan, or similar

       educational learning plan.

   vii. The MNDOC shall not prohibit, prevent, or otherwise hinder an

       incarcerated individual from seeking reasonable modifications or

       accommodations on the GED exam.            The MNDOC shall provide

       necessary assistance so that the individual can submit such requests and

       supporting documentation to obtain modifications, accommodations, or

       auxiliary aids or services on the GED exam. The MNDOC shall assist

       such individuals in obtaining necessary supporting documentation from

       prior schools, medical professionals, presentence investigation reports, or

       other third-party sources.       If an incarcerated individual seeking

       modifications, accommodations, or auxiliary aids or services on the GED

       exam does not have a current written education accommodation plan

       supporting such a request, the MNDOC shall have knowledgeable staff

       who have been trained pursuant to Paragraph 13, following United States’

       approval of the training in Paragraph 13, conduct individualized

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       assessments of individuals with disabilities as needed to support their

       request for modifications, accommodations, or auxiliary aids or services

       on the GED exam. The MNDOC shall not prohibit, prevent, or otherwise

       hinder MNDOC staff or other individuals who assist incarcerated

       individuals with disabilities in seeking reasonable modifications or

       accommodations on the GED exam.

  viii. The MNDOC shall administer its GED program in facilities that are

       accessible to individuals with disabilities, or alternative accessible

       arrangements must be made. Alternative arrangements must provide

       comparable conditions to those provided for nondisabled individuals.

   ix. The MNDOC must assure that the GED exam is administered so as to

       best ensure that, when the exam is administered to an individual with a

       disability that impairs sensory, manual, or speaking skills, the exam

       results accurately reflect the individual’s aptitude or achievement level or

       whatever other factor the exam purports to measure, rather than reflecting

       the individual’s impaired sensory, manual, or speaking skills.

    x. The MNDOC shall ensure that all relevant information and documents

       about     an   individual’s       disability,   accommodations,   reasonable

       modifications, auxiliary aids or services, or other disability-related needs

       are accessible to secondary education program staff at the individual’s

       facility, including when the individual transfers between MNDOC

       facilities.

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   xi. Pursuant to 28 C.F.R. § 35.130(h) and notwithstanding any other

       provision in the Consent Decree, the MNDOC may impose legitimate

       safety requirements necessary for the safe operation of its services,

       programs, or activities, so long as any such safety requirements are based

       on actual risks, not on mere speculation, stereotypes, or generalizations

       about individuals with disabilities.

 b. Notification for Individuals with Disabilities: The MNDOC shall inform all

    incarcerated individuals of the MNDOC’s policies and procedures for

    reasonable modifications for individuals with disabilities upon intake

    screening and processing and orientation. The MNDOC shall inform all

    incarcerated individuals upon their admission into any secondary education

    program of the MNDOC’s policies and procedures for reasonable

    modifications for individuals with disabilities, examples of reasonable

    modifications available for individuals with disabilities in their specific

    secondary education program, and any relevant policies or procedures for

    obtaining such modifications from the MNDOC or third-party entities

    involved in reviewing requests for such modifications. The MNDOC shall

    provide all incarcerated individuals in the GED program with notice that

    accommodations are available on GED practice tests and exams and the

    policies and procedures for requesting such accommodations. Individuals in

    the GED program will be notified of these available accommodations again

    upon eligibility for a GED practice test or exam part.

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  c. Allegations of Discrimination by Staff on the Basis of Disability: The

     MNDOC shall take appropriate disciplinary or other action against staff who

     subject incarcerated individuals or other staff members or individuals

     assisting incarcerated individuals with disabilities in its secondary education

     program to discrimination, retaliation, coercion, intimidation, harassment,

     threats, or abuse, or who interfere with rights protected by the ADA, in

     accordance with applicable policies and collective bargaining agreements.

  d. Complaints and Appeals by Incarcerated Individuals: The MNDOC shall

     ensure that Offender Requests for Modifications, kites, complaints,

     grievances, and appeals by incarcerated individuals who allege violations of

     the ADA in a secondary education program are promptly reviewed and

     addressed by appropriate action.       For communications by incarcerated

     individuals in a secondary education program that are not related to a denial

     of an accommodation request, appropriate MNDOC staff shall promptly

     review and address such communications by appropriate action, pursuant to

     MNDOC policy.        Appeals by incarcerated individuals in a secondary

     education program that are related to a denial of an accommodation request,

     shall be promptly reviewed and addressed per Paragraph 10(a)(iv). The

     deputy commissioner of the facilities services division or the ADA

     Compliance Officer are responsible for final decisions for all grievance

     appeals involving claims of disability discrimination.



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             e. Complaints by MNDOC Staff: The MNDOC shall ensure that complaints

                by staff who allege violations of the ADA in the secondary education

                program are promptly reviewed and addressed by appropriate action in

                accordance with applicable policies and collective bargaining agreements.

       11.      Implementation & Dissemination:      Within sixty (60) calendar days of

approval by the United States, the MNDOC will adopt and implement the policies,

practices, and procedures identified in Paragraph 10. 1 The MNDOC shall amend, or where

appropriate, issue new policies, practices, and procedures—and any related directives,

forms, lists, or other documents—for all individual facilities within the MNDOC system,

to ensure that they reflect and comply with the changes made pursuant to this Consent

Decree. The MNDOC will disseminate a copy of all approved policies, practices, and

procedures to all staff and contractors involved in the secondary education program or in

conducting any evaluation or assessment of secondary education program participants’

disability-related education needs (collectively, relevant staff and contractors).      The

MNDOC will also include information about these policies, practices, and procedures in

the Offender Handbook and education orientation materials, and conspicuously post these

policies in its education units. The MNDOC will also incorporate these policies into

training for all new relevant staff and contractors within thirty (30) calendar days of hire

or retention.




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  The date of implementation of Paragraphs 10 and 12 is subject to the MNDOC’s good
faith efforts to hire the ADA Compliance Officer contemplated by this Consent Decree.
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      12.      ADA Compliance Officer and Facility ADA Coordinators: The MNDOC

will hire an agency-wide ADA Compliance Officer. This individual shall coordinate the

MNDOC’s efforts to comply with and carry out its responsibilities under Title II and this

Consent Decree.

            a. Facility ADA Coordinators: The MNDOC has designated, and will continue

               to designate, at least one employee in each of the MNDOC’s correctional

               facilities to serve as the facility’s ADA Coordinator. Each Facility ADA

               Coordinator will coordinate and have the authority to ensure that their facility

               complies with and carries out the facility’s responsibilities under Title II.

               The Facility ADA Coordinator shall coordinate as necessary with the Facility

               ADA Education Coordinator in their facility.

            b. Facility ADA Education Coordinators: The MNDOC will designate at least

               one employee in each of MNDOC’s correctional facilities to serve as the

               Facility ADA Education Coordinator.          Each Facility ADA Education

               Coordinator will coordinate and have the authority to ensure that their facility

               complies with and carries out their education department’s responsibilities

               under Title II and this Consent Decree.        The Facility ADA Education

               Coordinator shall coordinate as necessary with the Facility ADA Coordinator

               in their facility.

            c. General Responsibilities: The ADA Compliance Officer, Facility ADA

               Coordinators, and Facility ADA Education Coordinators shall be responsible

               for carrying out the MNDOC’s ADA responsibilities, including reviewing

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                disability accommodation requests. They may also be consulted during

                investigation and resolution of kites, complaints, Offender Requests for

                Modification, grievances, and appeals described in Paragraph 10(d).

       13.      Personnel Training: Within sixty (60) calendar days of receiving approval

from the United States of the policies, practices, and procedures required under Paragraph

10 of this Consent Decree, the MNDOC shall submit proposed training materials—

including any manuals or written or electronic materials, that are consistent with the

provisions of those approved policies, practices and procedure—to the United States for

approval, which will not be unreasonably withheld. Within sixty (60) calendar days of

receiving approval from the United States of the training materials, and annually thereafter,

the MNDOC will provide training to all relevant staff and contractors concerning: Titles

II and V of the ADA and disability discrimination in general; GED course, practice test,

and exam accommodations; the MNDOC’s revised policies, practices, and procedures

pursuant to Paragraph 10; the roles, and responsibilities of the MNDOC’s ADA

Compliance Officer, Facility ADA Coordinators, and Facility ADA Education

Coordinators; and this Consent Decree, including the steps that the MNDOC has taken,

and will continue to take to ensure that its obligations under this Consent Decree are met.

             a. This training shall be conducted by person(s) with substantive knowledge of

                Title II of the ADA. The United States shall set forth reasonable minimum

                qualifications for the trainer(s). Subject to the MNDOC’s good faith efforts

                to secure a trainer that meets these minimum qualifications, the MNDOC

                will send the United States the name(s), qualifications, and contact

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                information of the trainer(s) no later than sixty (60) calendar days after the

                Effective Date of this Consent Decree. If the MNDOC cannot secure a

                trainer that meets these minimum qualifications by this date, the Parties will

                negotiate in good faith to reach a resolution.

             b. The initial training will be conducted live, either in-person or via remote

                meeting platform, with an opportunity to pose questions to the individual(s)

                conducting the training at the conclusion of the training session. Each

                subsequent training may be conducted by video recording. The MNDOC

                will ensure that all new relevant staff and contractors receive the training as

                a component of new personnel training and orientation.

       14.      Student Educational Program: Within sixty (60) calendar days of receiving

approval from the United States of the policies, practices, and procedures required under

Paragraph 10, the MNDOC shall submit updated education orientation programming

materials to the United States for approval, which will not be unreasonably withheld.

Within sixty (60) calendar days of receiving approval from the United States of the updated

education orientation programming materials, those materials will be utilized within

MNDOC’s education orientation programming, including to meet its notification

requirements included in Paragraph 10(b). Within sixty (60) calendar days of receiving

approval from the United States of the updated education orientation programming

materials, the updated education orientation programming materials will also be presented

once to current secondary education students who have already completed education

orientation. These education orientation materials will include information concerning:

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Title II of the ADA and disability discrimination in general; GED course, practice test, and

exam accommodations; the MNDOC’s revised policies, practices, and procedures pursuant

to Paragraph 10; the roles and responsibilities of the MNDOC’s ADA Compliance Officer,

Facility ADA Coordinators, and Facility ADA Education Coordinators; and this Consent

Decree, including the steps that the MNDOC has taken, and will continue to take to ensure

that its obligations under this Consent Decree are met. These materials may include

video(s), approved by the United States, and participants shall be provided the opportunity

to ask questions of an individual who is knowledgeable about Title II, the GED program,

and GED course, practice test, and exam accommodations.

       15.    Corrective Action Review:      The MNDOC shall review and document

(1) whether any currently incarcerated individuals who have participated in its GED

programming since January 1, 2017, and who have not obtained a secondary credential or

obtained a secondary credential only after receiving more than three-hundred and ninety

(390) instructional hours of GED programming, have disabilities, including reviewing

records such as prior school records, medical or mental health records, presentence

investigation reports, or other information available to the MNDOC as needed, (2) whether

the lack of any accommodations, modifications, or auxiliary aids or services denied them

an equal opportunity to benefit from the GED program, and (3) what corrective action(s)

should be taken, including but not limited to wage adjustment where the adjusted wage

would not exceed the maximum wage available for the individual’s current work

assignment or the maximum wage available based on the individual’s attendance,

preference on waiting lists for appropriate programs or assignments, and the provision of

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reasonable modifications or accommodations or auxiliary aids or services. The MNDOC

shall provide this review, as well as an overview of: (1) the steps taken to conduct this

review; (2) documentation or other evidence considered; and (3) any proposed corrective

actions to the United States for approval within one-hundred and twenty (120) calendar

days of the Effective Date. Within thirty (30) calendar days of the United States’ approval

of the review and proposed corrective actions, the MNDOC shall implement the corrective

actions. Accommodations, modifications, or auxiliary aids or services determined to be

necessary for incarcerated individuals currently participating in GED programming shall

be temporarily implemented prior to final approval by the United States.

                               V.     MONETARY RELIEF

      16.     The MNDOC agrees to pay an amount no greater than $78,267.00 for the

purpose of compensating individuals identified by the United States who were aggrieved

by the MNDOC’s actions. None of the payments provided for in this Consent Decree

constitute payment of exemplary or punitive damages. The United States will provide the

MNDOC with the names and total compensation amounts for each aggrieved person.

Within thirty (30) calendar days of receiving this information, the MNDOC will mail a

copy of the Complaint in this matter, this signed Consent Decree, the Release of Claims,

attached hereto as Attachment A, and instructions for how to accept the MNDOC’s

payment via certified mail to each aggrieved person. The MNDOC shall make reasonable

efforts to locate a current address for each aggrieved person utilizing MNDOC records

and/or data systems MNDOC accesses for business purposes, such as the Statewide

Supervision System (S3). The United States may also provide a current address for each

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aggrieved person to assist the MNDOC. Upon receipt of an aggrieved person’s executed

Release of Claims and confirmation that the aggrieved person has completed all necessary

steps to receive the MNDOC’s payment, the MNDOC will send their compensation by an

electronic funds transfer or by a check sent certified mail. The MNDOC will provide the

United States with verification of each payment within thirty (30) calendar days after it

was processed or sent via mail. If an aggrieved person submits an executed Release of

Claims, properly completes all necessary steps to receive the MNDOC’s payment, and

requests their compensation from the MNDOC or the United States at any time during the

term of this Consent Decree, the MNDOC will process the appropriate payment.

                         VI.   MONITORING AND REPORTING

      17.      Reporting Requirements: Beginning three (3) months after the Effective

Date and every six (6) months thereafter for the term of this Consent Decree, the MNDOC

shall submit written reports (including supporting documentation) to the United States,

delineating all steps taken during the reporting period to comply with each substantive

provision of this Consent Decree. Each report shall include the following for the preceding

reporting period:

            a. Program Data: A list of every incarcerated individual with a disability who

               participated in the GED program as well as their Offender ID, current

               MNDOC facility, the date the individual entered the GED program, the date

               and scores of all GED practice tests and exams, all information regarding

               educational program accommodations or modifications (including the date

               of any request, what was requested, what was approved, and the date of any

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     MNDOC response to the individual), all information regarding any GED

     exam accommodations (including the date of any request, what was

     requested, date the MNDOC submitted the request to GTS, what was

     approved by GTS, and date of any MNDOC or GTS response to the

     individual), the date the individual exited the GED program, and the reason

     for the individual’s exit (e.g., obtained GED certificate or released from

     MNDOC custody).

  b. Complaint, Kites, Offender Requests for Modification, Grievances, and

     Appeals: A copy of every complaint, kite, Offender Request for

     Modification, grievance, and appeal by an incarcerated individual relating to

     disability-based discrimination in the GED program or any other issue

     covered by this Consent Decree, and the MNDOC’s response to or resolution

     of the complaint, kite, Offender Request for Modification, grievance, and

     appeal.

  c. Staff Complaints: A copy of every complaint by staff related to disability-

     based discrimination in the GED program, or any other issue covered by this

     Consent Decree, received by the MNDOC and the MNDOC’s response to or

     resolution of the complaint.

  d. Training: For all training and educational sessions required in Paragraphs 11,

     13-14, the MNDOC shall submit written reports detailing: the date and time

     of each training; a copy of the agenda and materials (e.g., handouts,



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                PowerPoint presentations) used for each training; and the names (and for

                employees, names and titles) of the individuals who attended the training.

             e. All Other Relevant Documents: All other documents requested by the United

                States relevant to this Consent Decree and to the United States’ determination

                of the MNDOC’s ongoing compliance with this Consent Decree.

                                VII.    ADDITIONAL TERMS

       18.      Notification: All documents and communications required to be sent to the

United States under the terms of this Consent Decree shall be sent to the following

individuals by e-mail to Christine Kim (christine.kim@usdoj.gov), Matthew Faiella

(matthew.faiella@usdoj.gov), and Bahram Samie (bsamie@usa.doj.gov) or by overnight

courier to Christine Kim (202-305-0043), Disability Rights Section/Civil Rights Division,

4 Constitution Square, 150 M Street NE / 9th Floor, Washington, DC 20002. The cover

letter shall include a subject line referencing the MNDOC and DJ# 204-39-192.

       19.      Effective Date and Term: The Effective Date shall be the date that the Court

approves and enters the Consent Decree or issues electronic notification that it has done

so, whichever is later. Unless otherwise specified, all time periods designated for an action

run from the Effective Date. This Consent Decree shall remain in effect for three (3) years

from the Effective Date. The Court shall retain continuing and exclusive jurisdiction for

the duration of the Consent Decree to enforce the terms of the Consent Decree. The United

States and/or MNDOC may apply to the Court for such further orders as may be necessary

for, or consistent with, the enforcement of this Consent Decree.



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       20.    Reviewing Compliance: The United States may review compliance with this

Consent Decree at any time. The MNDOC will cooperate fully with the United States’

efforts to monitor compliance with this Consent Decree. The MNDOC shall make

facilities, policies, records (including incarcerated individuals’ medical records),

personnel, and any other reasonably requested information available to the United States

to facilitate the United States’ monitoring of the MNDOC’s compliance with this Consent

Decree. Upon request from the United States, the MNDOC shall make arrangements for

the United States to conduct confidential and private telephonic, videophone, or in-person

interviews with incarcerated individuals pertaining to this Consent Decree.

       21.    Disputes: If the United States believes that MNDOC has failed to comply in

a timely manner with any requirement of this Consent Decree, or that any requirement has

been violated, the United States will notify the MNDOC in writing and the Parties will

attempt to resolve the issue. The MNDOC must respond to such notice as soon as

practicable but no later than seven (7) calendar days thereafter. The Parties shall negotiate

in good faith to resolve any dispute relating thereto; if the Parties are unable to reach a

mutually acceptable resolution within thirty (30) days, the United States may seek court

enforcement of compliance with this Consent Decree. Nothing in this procedure shall

prevent the United States or the MNDOC from promptly bringing an issue before the Court

when, in the moving Party’s view, the facts and circumstances require immediate court

attention. The moving Party must provide written notice and attempt informal resolution

for at least fourteen (14) calendar days prior to bringing the issue before the Court. The



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moving Party’s written notice and court filing shall explain the facts and circumstances

that necessitate immediate court involvement.

       22.    Scope: This Consent Decree does not purport to remedy any violations or

potential violations of the ADA or any other federal or state law, other than the violations

alleged in above in Paragraphs 1-2, nor does it affect the MNDOC’s continuing

responsibility to comply with all provisions of the ADA. This Consent Decree shall have

no impact upon the rights or claims of any individual not identified in this Consent Decree

who has made, or may make, claims against the MNDOC, even for issues addressed herein.

Nothing in this Consent Decree shall preclude the United States from filing a separate

action under the ADA, or any other law, for any alleged violation not covered by this

Consent Decree.

       23.    Entire Agreement: This Consent Decree contains the entire agreement

between the United States and the MNDOC concerning the subject matter described in

Paragraphs 1-2, and no other statement, promise, or agreement, either written or oral, made

by any party or agent of any party, that is not contained in this Consent Decree, and

concerns the subject matter described in Paragraphs 1-2, shall be enforceable.

       24.    Interpretation: This agreement shall be deemed to have been jointly drafted

by the Parties. Any ambiguous language shall be interpreted as to its fair meaning, and not

strictly for or against any party.

       25.    Modifications: The time frame for completion of any act required by this

Consent Decree may be modified with the mutual written consent of the Parties, except

that the termination date may only be extended by Order of the Court. The United States

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will not unreasonably deny requested extensions, if made by the MNDOC in advance of

any deadline, and following the MNDOC’s due diligence to meet such a requirement. The

Parties acknowledge that such written agreement may be completed by e-mail so long as

the e-mail has specific language designed to bind either Party.

       26.    Severability: If any provision of this Consent Decree is determined to be

invalid, unenforceable, or otherwise contrary to applicable law, the other terms of this

Consent Decree shall nonetheless remain in full force and effect.

       27.    Binding: This Consent Decree shall be binding on the United States and

MNDOC and its agents, employees, officers, and contractors.

       28.    Successor Liability: This Consent Decree is binding on MNDOC and its

successors, including any successor Commissioner of the Department of Corrections.

       29.    Non-Waiver: Failure by the United States to seek enforcement of this

Consent Decree pursuant to its terms with respect to any instance or provision shall not be

construed as a waiver to such enforcement with regard to any instances or provisions.

       30.    Litigation Holds: The United States and the MNDOC agree that, as of the

date of entry of this Consent Decree, litigation is not “reasonably foreseeable” concerning

the matters described in Paragraphs 1-2. To the extent that any of these Parties previously

implemented a litigation hold to preserve documents, electronically stored information, or

things related to the matters described in Paragraphs 1-2, the Party is no longer required to

maintain such a litigation hold. Nothing in this Paragraph relieves any Party of any other

obligations imposed by this Consent Decree.



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       31.    Fees and Costs: Each of the Parties to this Consent Decree will bear its own

costs and attorney’s fees incurred in connection with this litigation and Consent Decree.

       32.    Publicly Available: A copy of this document will be made available to any

person by the MNDOC on request.

       33.    Authority: The signatories represent that they have the authority to bind the

respective parties identified below to the terms of this Consent Decree.

       34.    Counterparts: This Consent Decree may be executed in counterparts, each

of which shall be deemed to be an original, but all of which, taken together, shall constitute

one and the same Consent Decree. Electronic or facsimile signatures are acceptable.




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Dated: February 14, 2023                 Respectfully submitted,

ANDREW M. LUGER                          KRISTEN CLARKE
United States Attorney                   Assistant Attorney General
District of Minnesota                    Civil Rights Division

                                         REBECCA B. BOND
                                         Chief

/s/ Bahram Samie                         /s/ Christine Kim
BAHRAM SAMIE (#392645)                   JENNIFER K. MCDANNELL
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United States Attorney’s Office          CHRISTINE KIM (DCRN 1044186)
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                                         United States of America




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FOR THE MINNESOTA DEPARTMENT OF CORRECTIONS:

/s/ Paul Schnell
PAUL SCHNELL
Commissioner
Minnesota Department of Corrections
1450 Energy Park Drive, Suite 200
St. Paul, MN 55108
651-361-7226 (telephone)

2/13/23
Date



                                      ORDER

                  IT IS SO ORDERED this 7th day of March, 2023.

                            s/ Jerry W. Blackwell
                          JERRY W. BLACKWELL
                 ___UNITED STATES DISTRICT COURT JUDGE




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                                   ATTACHMENT A
                                 RELEASE OF CLAIMS

For and in consideration of acceptance of the relief offered to me by the Minnesota
Department of Corrections (“MNDOC”), of compensation in the amount of $_________
(print amount), pursuant to a Consent Decree between the MNDOC and the United States
of America, arising out of Civil Action No. 0:23-cv-00367-JWB-ECW:

I, ________________________________ (print name), hereby release and forever
discharge the MNDOC and its current, past, and future officers, directors, employees, and
agents, of and from any legal and/or equitable claims arising out of the facts identified in
the United State’ Complaint filed in the United States District Court for the District of
Minnesota, Civil Action No. 0:23-cv-00367-JWB-ECW, and any other claims, known or
unknown, relating to my request(s) for accommodations or modifications for any General
Educational Development (GED) course, practice test, and exam provided by the
MNDOC preceding the date of this Release. Excluded from this Release are any rights
and claims that cannot be waived by law.

This Release constitutes the entire agreement between myself and the MNDOC with
regard to the claims identified above, without exception or exclusion.

I acknowledge that a copy of the Consent Decree has been made available to me. By
signing this Release, I acknowledge that I have been provided the opportunity to review
the Consent Decree with an attorney of my choosing, and that I understand that I am
solely responsible for paying any applicable federal, state and local taxes I owe as a result
of receiving payment under this Consent Decree.

I HAVE READ THIS RELEASE AND UNDERSTAND THE CONTENTS THEREOF,
AND I EXECUTE THIS RELEASE OF MY OWN FREE ACT AND DEED.

Signature: ___________________________________      Date: ____________
Full Name: __________________________________
Mailing Address: ___________________________________________________




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